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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
-0O0-
UNITED STATES OF AMERICA, Case No.: 2:20-mj-00456-BNW-2
. ) ORDER FOR ISSUANCE OF
Plaintiff, ) WRIT OF HABEAS CORPUS
) AD PROSEQUENDUM FOR
Vs. ) ANDREW LYNAM
) (D#) 08135403
ANDREW LYNAM, )
)
Defendant.

 

 

 

Upon reading the petition of the United States Attorney for the District of Nevada, and
good cause appearing therefore,

IT IS HEREBY ORDERED that a Writ of Habeas Corpus Ad Prosequendum issue

out of this Court, directing the production of the body of the said ANDREW LYNAM before

the United States District Court at Las Vegas, Nevada, on or about

June 15, 2020, at 3:00 PM in ctrm. #3B , for arraignment and any further proceedings

 

and from time to time and day to day thereafter until excused by the said Court.

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DATED: June 2, 2020 Sx Lee, set orm

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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
-o0o0-
UNITED STATES OF AMERICA, Case No.: 2:20-mj-00456-BNW-2
Plaintit? ) PETITION FOR WRIT OF HABEAS
} CORPUS AD PROSEQUENDUM FOR
) ANDREW LYNAM
VS: ) (ID#) 08135403
ANDREW LYNAM,
)
Defendant.
)

 

 

 

The petition of the United States Attorney for the District of Nevada respectfully shows
that ANDREW LYNAM is committed by due process of law in the custody of the Warden,
Clark County Detention Center, Las Vegas, Nevada, that it is necessary that the said ANDREW
LYNAM be temporarily released under a Writ of Habeas Corpus Ad Prosequendum so that the
said ANDREW LYNAM may be present before the United States District Court for the District

June 15, 2020, at 3:00 PM in ctrm. #3B
of Nevada, Las Vegas, Nevada, on , for arraignment and

 

from time to time and day to day thereafter until excused by the said Court.

That the presence of the said ANDREW LYNAM before the United States District Court

June 15, 2020, at 3:00 PM in ctrm. #3B

on or about , for arraignment and from time to time

 

and day to day thereafter until excused by the Court has been ordered by the United States

Magistrate or District Judge for the District of Nevada.

 
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Case 2:20-mj-00456-BNW Document 4 Filed 06/02/20 Page 3 of 3

WHEREFORE, petitioner respectfully prays that a Writ of Habeas Corpus Ad
Prosequendum issue out of this Court, directed to the Warden, Clark County Detention Center,
Las Vegas, Nevada, and to the United States Marshal for the District of Nevada, commanding
them to produce the said ANDREW LYNAM before the United States District Court on or about
June 15, 2020, at 3:00 PM in ctrm. #3B for arraignment and from time to time and day to
day thereafter, at such times and places as may be ordered and directed by the Court entitled
above, to appear before the Court, and when excused by the said Court, to be returned to the

custody of the Warden, Clark County Detention Center, Las Vegas, Nevada.

DATED this 2" day of June, 2020

Respectfully submitted,

NICHOLAS A. TRUTANICH
United States Attorney

Nicholas b. Dickinsow

NICHOLAS D. DICKINSON
Assistant United States Attorney

 

 
